      Case 2:16-cv-00798-MHT-CSC Document 124 Filed 04/04/19 Page 1 of 8



                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION



 DEMONTRAY HUNTER, by and through his
 next friend, Rena Hunter; RUSSELL D. SENN, by
 and through his next friend, Irene Senn; TRAVIS
 S. PARKS, by and through his next friend,
 Catherine Young; VANDARIUS S. DARNELL,
 by and through his next friend, Bambi Darnell;
 FRANK WHITE, JR., by and through his next
 friend, Linda White; MARCUS JACKSON, by
 and through his next friend Michael P. Hanle;
 TIMOTHY D. MOUNT, by and through his next
 friend, Dorothy Sullivan; HENRY P. MCGHEE,
 by and through his next friend, Barbara Hardy,        CASE NO. 2:16-cv-00798-MHT CSC
 individually and on behalf of all others similarly
 situated; and the ALABAMA DISABILITIES
 ADVOCACY PROGRAM,                                        CLASS ACTION FOR
                                                         DECLARATORY AND
       Plaintiffs,                                        INJUNCTIVE RELIEF

 v.

 LYNN T. BESHEAR, in her official capacity as
 Commissioner of the Alabama Department of
 Mental Health,

       Defendant.




                PROPOSED ORDER ON STATUS OF NONCOMPLIANCE

       The named Plaintiffs as class representatives, the Alabama Disabilities Advocacy Program,

and Lynn T. Beshear, Commissioner of the Alabama Department of Mental Health (hereinafter

“ADMH”), jointly submit this proposed order directing the Parties to undertake the actions

outlined below to address noncompliance with the Consent Decree.



                                               1
       Case 2:16-cv-00798-MHT-CSC Document 124 Filed 04/04/19 Page 2 of 8



I.        SCHEDULE FOR PREPARATION AND IMPLEMENTATION OF REMEDIAL
          PLAN

          During the April 3, 2019 status conference in this action, the Parties endorsed the following

schedule for the engagement of a compliance consultant by ADMH to identify barriers to ADMH’s

compliance with the Consent Decree, the consultant’s development of a remedial plan to bring

ADMH into compliance with the Consent Decree, and ADMH’s implementation of the remedial

plan. 1

        Deadline                                           Activity
       May 2, 2019        ADMH engages compliance consultant selected after consultation with
                          Plaintiffs
      June 17, 2019       Compliance consultant submits report outlining barriers to compliance
                          with the Consent Decree’s timelines for service provision, which is
                          shared with Plaintiffs within 1 business days
       July 1, 2019       Compliance consultant submits remedial plan to address compliance
                          barriers outlined in consultant’s initial report, which is shared with
                          Plaintiffs on the same day
        July 3, 2019      Parties meet and confer regarding the consultant’s remedial plan
       July 24, 2019      ADMH provides Plaintiffs amended remedial plan, if necessary
      August 1, 2019      Amendments to remedial plan, if any, are complete and ADMH
                          implementation of remedial plan begins
      August 2, 2019      ADMH provides Plaintiffs final version of remedial plan
    September 1, 2019     Implementation of remedial plan complete
    September 16 2019     ADMH provides Plaintiffs a Status Report on Compliance following
                          implementation of remedial plan
     October 1, 2019      Parties meet and confer regarding status of compliance
     October 15, 2019     The Parties file Joint Status Report regarding compliance with the
                          Consent Decree

II.       SELECTION AND ENGAGEMENT OF COMPLIANCE CONSULTANT

          In order to finalize the engagement by ADMH of the compliance consultant by

May 2, 2019, the Parties shall confer regarding the selection of the consultant and identify the



1
  Six of the dates set forth in this schedule differ from the scheduled proposed in the Parties’ Joint
Status Report on Noncompliance, ECF No. 122. These dates have been modified to ensure dates
that fall on business days and to reflect incremental deadlines for the exchange of information and
discussions of the Parties.
                                                   2
       Case 2:16-cv-00798-MHT-CSC Document 124 Filed 04/04/19 Page 3 of 8



individual whom ADMH will engage by April 12, 2019. Plaintiffs shall have an opportunity to

propose potential consultants and express demonstrable concerns regarding consultants proposed

by ADMH.      In the event that Plaintiffs have a strong objection to the consultant proposed by

ADMH, and that objection cannot be resolved following a meet and confer between the Parties,

Plaintiffs shall file a Notice of Objection to the Proposed Expert outlining their objections to same

and request a status conference with the Court to address same.

        In the event that the Parties reach an agreement concerning the identity of the consultant,

following the selection of the consultant to be engaged, ADMH shall handle logistical matters

associated with the engagement of the compliance consultant. Counsel for ADMH shall provide

written confirmation of the engagement of the consultant to Plaintiffs’ counsel once the

consultant’s engagement has been finalized. ADMH shall file a Notice of Engagement of

Consultant with the Court identifying same upon finalizing his or her engagement.

III.    REPORT ON BARRIERS TO COMPLIANCE AND REMEDIAL PLAN

        A.     Report on Barriers to Compliance. The compliance consultant shall confer with

relevant ADMH personnel regarding the current processes through which ADMH delivers

outpatient mental evaluations, inpatient mental evaluations, and competency restoration treatment

to class members, review operational records and data reflecting these processes, the Monitoring

Reports for the April 25, 2018 – July 31, 2018, August 1, 2018 – October 31, 2018, and November

1, 2019 – January 25, 2019 Monitoring Periods, and all other relevant material prior to the

preparation of his or her report outlining all current barriers to compliance with the Consent

Decree. The compliance consultant shall deliver his or her report on the barriers to compliance to

ADMH no later than June 17, 2019. The compliance consultant’s initial report shall include a

description of the personnel with whom the consultant conferred and the materials reviewed prior



                                                 3
      Case 2:16-cv-00798-MHT-CSC Document 124 Filed 04/04/19 Page 4 of 8



to preparing the report on the barriers to compliance. ADMH shall file a Notice of Receipt of

Report on Compliance Barriers to the Court upon receiving the compliance consultant’s report.

       ADMH shall provide Plaintiffs a copy of the compliance consultant’s report on compliance

barriers within one (1) business days of its receipt of same. If Plaintiffs’ dispute the adequacy of

the consultant’s report or otherwise have specific concerns regarding the content of the

consultant’s report, Plaintiffs shall advise ADMH of their objections in writing within three (3)

business days of receiving a copy of the report, and the Parties shall meet and confer within two

(2) business days regarding Plaintiffs’ objections to the consultant’s report. If Plaintiffs express

specific objections to the consultant’s report and those objections cannot be resolved by the Parties

during their meeting to address Plaintiffs’ objections, Plaintiffs shall file a Notice of Objection to

Content of Consultant’s Report with the Court advising the Court of the nature of their objections

and whether they believe that the matter needs to be referred for dispute resolution under the terms

of the Consent Decree. If Defendant disputes certain aspects of consultant’s plan then she will

also have the opportunity to object to these aspects with the Court. Defendant will continue her

efforts to remediate non-compliance even after consultant is engaged. All parties will have the

opportunity at any time to meet and confer and offer input into consultant’s remediation plan,

including impossibility, illegality or concepts outside the scope of the Consent Decree.

       B.      Remedial Plan. On or before June 30, 2019, the compliance consultant, working

with relevant ADMH personnel, shall prepare a detailed remedial plan outlining all actions and

capacity development necessary for ADMH to come into compliance with the Consent Decree,

and a timeline for the implementation of the remedial plan. ADMH shall provide a copy of the

remedial plan to Plaintiffs within twenty-four (24) hours of its receipt of same, and in no event




                                                  4
     Case 2:16-cv-00798-MHT-CSC Document 124 Filed 04/04/19 Page 5 of 8



later than July 1, 2019. ADMH shall file a Notice of Receipt of Remedial Plan with the Court

upon receiving the remedial plan from the compliance consultant.

       On or before July 3, 2019, the Parties shall meet and confer regarding the content of the

consultant’s remedial plan. ADMH shall provide Plaintiffs amendments to the remedial plan, if

any, by July 24, 2019. Plaintiffs shall advise ADMH of any objections to the amended remedial

plan within three (3) business days of their receipt of same. The Parties shall meet and confer

regarding Plaintiffs objections to the amended remedial plan, if any, within two (2) business days

of Plaintiffs’ notice of any objections to the amended remedial plan. If Plaintiffs express specific

objections to the remedial plan and those objections cannot be resolved by the Parties during their

meeting to address Plaintiffs’ objections, Plaintiffs shall file a Notice of Objection to Content of

Remedial Plan with the Court advising the Court of the nature of their objections and whether they

believe that the matter needs to be referred for dispute resolution under the terms of the Consent

Decree.

       C.      Implementation of Remedial Plan. On or before August 1, 2019, ADMH shall

finalize its remedial plan to come into compliance with the Consent Decree and shall begin

implementation of same. ADMH shall provide Plaintiffs a copy of its final remedial plan by

August 2, 2019. ADMH shall complete implementation of the remedial plan on or before

September 1, 2019. On September 16, 2019 ADMH shall provide Plaintiffs a Status Report on

Compliance following its implementation of the remedial plan. On or before October 1, 2019, the

Parties shall meet and confer regarding the status of compliance with the Consent Decree following

ADMH’s implementation of the remedial plan.




                                                 5
      Case 2:16-cv-00798-MHT-CSC Document 124 Filed 04/04/19 Page 6 of 8



IV.    MONITORING OF THE PARTIES’ REMEDIAL EFFORTS BY THE COURT

       The Court will monitor the status of the Parties’ efforts to address noncompliance with the

Consent Decree through the procedural notices indicate in Sections II and III above, which allow

the Court to monitor whether any disputes that may arise are sufficiently disruptive to the process

outlined in those sections to warrant the Court’s intervention. The Parties shall file a Joint Status

Report on Compliance with the Consent Decree on or before October 15, 2019.

Dated: April 4, 2019                   Respectfully submitted,

                                      /s/ M. Geron Gadd_______________________
                                      M. Geron Gadd (ASB-0601-J98S)
                                      ALABAMA DISABILITIES ADVOCACY PROGRAM
                                      400 South Union Street, Suite 280
                                      Montgomery, AL 36104
                                      Telephone: (334) 240-0994
                                      Facsimile: (334) 240-0996
                                      Email: mggadd@adap.ua.edu

                                      William Van Der Pol, Jr. (ASB-2112-114F)
                                      Lonnie J. Williams (ASB-2866-I35W)
                                      Shandra N. Monterastelli (ASB-1016-N00Q)
                                      ALABAMA DISABILITIES ADVOCACY PROGRAM
                                      500 Martha Parham West
                                      Box 870395
                                      Tuscaloosa, AL 35487-0395
                                      Telephone: (205) 348-4928
                                      Facsimile: (205) 348-3909
                                      Email: wvanderpoljr@adap.ua.edu
                                      lwilliams@adap.ua.edu smonterastelli@adap.ua.edu

                                       Attorneys for Plaintiffs Demontray Hunter, Russell D.
                                       Senn, and Travis S. Parks, Vandarius S. Darnell, Frank
                                       White, Jr., Marcus Jackson, Timothy D. Mount, and
                                       Henry P. McGhee and Plaintiff Alabama Disabilities
                                       Advocacy Program

                                        Henry F. (Hank) Sherrod III (ASB-1200-D63H) HENRY
                                        F. SHERROD III, P.C.
                                        119 South Court Street
                                        Florence, AL 35630
                                        Telephone: (256) 764-4141

                                                 6
Case 2:16-cv-00798-MHT-CSC Document 124 Filed 04/04/19 Page 7 of 8



                         Facsimile: (877) 864-0802
                         Email: hank@alcivilrights.com
                         Randall C. Marshall (ASB-3023-A56M)
                         ACLU OF ALABAMA FOUNDATION
                         P.O. Box 6179
                         Montgomery, AL 36106
                         Telephone: (334) 420-1741
                         Facsimile: (334) 269-5666
                         rmarshall@aclualabama.org

                         Attorneys for Plaintiffs Demontray Hunter, Russell D.
                         Senn, and Travis S. Parks, Vandarius S. Darnell, Frank
                         White, Jr., Marcus Jackson, Timothy D. Mount, and
                         Henry P. McGhee

                         /s/ Thomas B. Klinner_____________________
                         Thomas B. Klinner (ASB-9911-L67T)
                         Edward C. Hixon (ASB-5964-H65E)
                         Ashley L. Nichols (ASB-8291-E36N)
                         Nancy S. Jones (ASB-4740-S66N)
                         ALABAMA DEPARTMENT OF MENTAL HEALTH
                         RSA Union Building
                         100 North Union Street
                         Montgomery, Alabama 36104
                         Tommy.Klinner@mh.alabama.gov
                         Eddie.Hixon@mh.alabama.gov
                         Ashley.Nichols@mh.alabama.gov
                         Nancy.Jones@bryce.mh.alabma.gov

                         Attorneys for Defendant Lynn T. Beshear




                                  7
     Case 2:16-cv-00798-MHT-CSC Document 124 Filed 04/04/19 Page 8 of 8



                                CERTIFICATE OF SERVICE
       I, the undersigned, hereby certify that I have caused a true and correct copy of the
foregoing to be served on the counsel of record listed below by filing same with the Clerk of
Court via the CM/ECF system this 4th day of April, 2019.



 M. Geron Gadd                                      Thomas B. Klinner
 Alabama Disabilities Advocacy Program              Edward C. Hixon
 400 South Union Street, Suite 280                  Ashley L. Nichols
 Montgomery, Alabama 36104                          Nancy S. Jones
 mggadd@adap.ua.edu                                 Alabama Department of Mental Health
                                                    RSA Union Building
 William Van Der Pol, Jr.                           100 North Union Street
 Lonnie Williams                                    Montgomery, Alabama 36104
 Shandra N. Monterastelli                           Tommy.Klinner@mh.alabama.gov
 Alabama Disabilities Advocacy Program              Eddie.Hixon@mh.alabama.gov
 500 Martha Parham West                             Ashley.Nichols@mh.alabama.gov
 Box 870395
                                                    Nancy.Jones@bryce.mh.alabma.gov
 Tuscaloosa, AL 35487-0395
 wvanderpoljr@adap.ua.edu
 lwilliams@adap.ua.edu
 smonterastelli@adap.ua.edu

 Henry F. (Hank) Sherrod III Henry
 F. Sherrod III, P.C.
 119 South Court Street
 Florence, AL 35630
 hank@alcivilrights.com

 Randall C. Marshall
 ACLU of Alabama Foundation
 P.O. Box 6179
 Montgomery, AL 36106-0179
 rmarshall@aclualabama.org



                                                      /s/ M. Geron Gadd_____________
                                                      M. Geron Gadd (ASB-0602-J98S)
                                                      Counsel for Plaintiffs




                                                8
